         Case 4:08-cr-00352-JLH Document 274 Filed 10/29/14 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION

UNITED STATES OF AMERICA                                                          PLAINTIFF

v.                               No. 4:08CR00352-04 JLH

KAREEM HUGHES                                                                 DEFENDANT

                                          ORDER

       Kareem Hughes’ motion for termination of supervised release is GRANTED. Document

#273. Kareem Hughes is hereby discharged and released from further supervision.

       IT IS SO ORDERED this 29th day of October, 2014.




                                                 J. LEON HOLMES
                                                 UNITED STATES DISTRICT JUDGE
